23 F.3d 399NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Charles E. CARTER, Plaintiff Appellant,andCharles H. Carter;  Alysia Carter, Plaintiffs,v.UNITED STATES DISTRICT COURT for the DISTRICT OF MARYLAND;J. Joseph Curran, Jr., Attorney General;  Julia M. Freit,Assistant Attorney General;  William O. Carr;  Cypert O.Whitfill, Defendants Appellees.
    No. 94-1310.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 21, 1994.Decided May 17, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore, John R. Hargrove, District Judge.  (CA-93-4117-HAR)
      Charles E. Carter, appellant pro se.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, MICHAEL, Circuit Judge, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Carter v. United States District Court, No. CA-93-4117-HAR (D. Md. Feb. 1, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    